            Case 3:17-cv-00364-JBA Document 93 Filed 01/18/19 Page 1 of 4



                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

JOHN DOE,                                 )      Civil Action
                                          )
                     Plaintiff,           )      Case No. 3:17-cv-00364-JBA
                                          )
v.                                        )
                                          )
QUINNIPIAC UNIVERSITY, TERRI              )
JOHNSON, SEANN KALAGHER,                  )
AND VINCENT CONTRUCCI,                    )
                                          )
                     Defendants.          )      January 18, 2019

      THIRD CONSENTED TO MOTION TO EXTEND TIME FOR PLAINTIFF TO
        RESPONDTO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Plaintiff John Doe respectfully moves this Court for an 4-day extension of time,

through and including January 22, 2019, to respond to Defendants’ motion for summary

judgment. In support of his motion, Plaintiff states as follows:

       1.      Plaintiff commenced this action on March 2, 2017. Plaintiff’s claims

arise out of a Title IX investigation conducted by the Defendants against the Plaintiff,

then a student at Defendant Quinnipiac University (“QU”).

       2.      Defendants have produced more than 15,000 pages of documents in

discovery, and discovery resulted in, among other things, 17 lengthy witness

deposition transcripts, 3 experts’ reports, 4 expert depositions transcripts and more

than 150 deposition exhibits.

       3.      Defendants are seeking summary judgment on all twelve counts with

numerous bases for each.

       4.      The Court has granted both parties’ motions for leave to file excess

pages for their summary judgment papers based on the complex facts and number of
            Case 3:17-cv-00364-JBA Document 93 Filed 01/18/19 Page 2 of 4



counts in the Second Amended Complaint. (Docs ## 77, 87).

       5.      Plaintiff’s response to the motion for summary judgment is currently due

on January 18, 2019. (Doc. 91).

       6.      On January 9, 2018, the Court granted Plaintiff’s consented to motion

for extension of time to file his response due to undersigned’s medical issue which

required multiple doctors’ visits and medical procedures, with additional medical

appointments scheduled and the death of a close friend.

       7.      The undersigned continues to have health issues, which have since

required multiple doctors’ visits and medical procedures, a result of which she has

missed multiple work days.

       8.      In addition, over the last two days, Duffy Law LLC has experienced

systemic computer issues that has caused serious delay and problems with sharing

and processing documents and directly interfered with the work on Plaintiff’s

Response.

       9.      On January 18, 2019, the undersigned conferred with Defendants’

counsel, Lynn McCormick, who confirmed that the Defendants consent to the granting

of the relief requested in this motion. Plaintiff would agree to an extension of time for

the filing of Defendants’ reply brief in further support of their motion for summary

judgment.

       10.     This motion is made in good faith and, in accordance with Fed.R.Civ.P.

11, is not brought for purposes of harassment or delay. Despite Plaintiff’s attorneys’


                                             2
         Case 3:17-cv-00364-JBA Document 93 Filed 01/18/19 Page 3 of 4



diligence, the January 22, 2018 deadline for Plaintiff’s response cannot be reasonably

met. Plaintiff submits good cause exists for granting this motion and that the granting

of this motion will serve the interests of justice and will prejudice neither the parties

nor the Court.

       11.    This is the Plaintiff’s fourth motion for an extension of the deadline to

respond to Defendants’ motion for summary judgment.

       WHEREFORE, Plaintiff respectfully requests that this Court grant him an

extension of time of eight days through and including January 22, 2019 to respond to

Defendants’ motion for summary judgment and Plaintiff would agree to an extension of

time for Defendants’ to reply to Plaintiff’s response to Defendants’ motion for summary

judgment.

                                           PLAINTIFF
                                           JOHN DOE

                                           By:     /s/ Felice M. Duffy
                                                   Felice M. Duffy (ct21379)
                                                   Duffy Law, LLC
                                                   129 Church Street, Suite 310
                                                   New Haven, CT 06510
                                                   Phone: (203) 946-2000
                                                   Fax: (203) 907-1383
                                                   felice@duffylawct.com

                                                   Douglas J. Varga (ct18885)
                                                   Lucas & Varga LLC
                                                   2425 Post Road, Suite 200
                                                   Southport, CT 06890
                                                   Phone: (203) 227-8400
                                                   Fax: (203) 227-8402
                                                   dvarga@lucasvargalaw.com




                                              3
         Case 3:17-cv-00364-JBA Document 93 Filed 01/18/19 Page 4 of 4



                                           His Attorneys


                                      CERTIFICATION

         I hereby certify that on January 18, 2019 a copy of the foregoing motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent by e-mail to all parties by operation of the court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the Notice
of Electronic Filing. Parties may access this filing through the court’s CM/ECF System.




                                                   By:     /s/ Felice M. Duffy
                                                           Felice M. Duffy




                                              4
